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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 MATTHEW STEIN and JEROME LHOTE,

     Plaintiffs/Counterclaim-Defendants,

                              v.

 LUKE MCGEE,                                                     No. 23-CV-02508 (NRB)

     Nominal Defendant,

 SKATTEFORVALTNINGEN,

     Defendant/Counterclaim-Plaintiff,

                              v.

 LUKE MCGEE,

     Counterclaim-Defendant.



           DECLARATION OF MARC A. WEINSTEIN IN SUPPORT OF
      DEFENDANT/COUNTERCLAIM-PLAINTIFF SKATTEFORVALTNINGEN’S
          PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


         I, Marc A. Weinstein, an attorney duly admitted to practice law before the courts of the

State of New York, hereby declare under penalty of perjury:

         1.       I am a partner at Hughes Hubbard & Reed LLP, counsel for

Defendant/Counterclaim-Plaintiff Skatteforvaltningen (“SKAT”) in these actions. I am fully

familiar with the matters set forth in this declaration.

         2.       I submit this declaration in support of SKAT’s Proposed Findings of Fact and

Conclusions of Law. 1



1.   Any capitalized terms not defined herein shall have the meanings attributed to them in SKAT’s Proposed
     Findings of Fact and Conclusions of Law.
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       3.     SKAT’s Exhibit 501 is the Settlement Agreement dated May 28, 2019, an

unredacted version of which was filed under seal at ECF No. 52-1.

       4.     SKAT’s Exhibit 502 is the Letter Agreement dated May 28, 2019, an unredacted

version of which was filed under seal at ECF No. 52-2.

       5.     SKAT’s Exhibit 503 is the Affidavit of Confession of Judgment executed by

Jerome Lhote (“Lhote”) on June 9, 2021, and by Matthew Stein (“Stein”) and Luke McGee

(“McGee”) on June 10, 2021 (the “Confession of Judgment”), an unredacted version of which

was filed under seal at ECF No. 52-2.

       6.     SKAT’s Exhibit 504 is the Affidavit of Confession of Judgment executed by

Stein, Lhote, and McGee on May 28, 2019, an unredacted version of which was filed under seal

at ECF No. 52-2.

       7.     Attached hereto as Exhibit 505 is a true and correct copy of the Expert Report of

Per Justesen, dated September 6, 2024.

       8.     Attached hereto as Exhibit 506 is a true and correct copy of the Rebuttal Expert

Report of Per Justesen, dated October 15, 2024.

       9.     Attached hereto as Exhibit 507 is a true and correct copy of excerpts of the

transcript of the deposition of Luke McGee, dated June 10, 2024.

       10.    Attached hereto as Exhibit 508 is a true and correct copy of excerpts of the

transcript of the deposition of Jerome Lhote, dated May 16, 2024.

       11.    Attached hereto as Exhibit 509 is a true and correct copy of excerpts of the

transcript of the deposition of Matthew Stein, dated May 9, 2024.




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         12.      Attached hereto as Exhibit 510 is a true and correct copy of an uncertified English

translation of excerpts of the December 12, 2024 Judgment of the District Court in Glostrup,

Denmark. 2

         13.      Attached hereto as Exhibit 511 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009685, except omitting the copy of the Settlement Agreement

included at STEIN_LHOTE0009688 through STEIN_LHOTE0009738.

         14.      Attached hereto as Exhibit 512 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009378.

         15.      Attached hereto as Exhibit 513 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009373.

         16.      Attached hereto as Exhibit 514 is a true and correct copy of a certified English

translation of the Bates-stamped document STEIN_LHOTE0008987, which is stamped

STEIN_LHOTE0008987_T.

         17.      Attached hereto as Exhibit 515 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009376.

         18.      Attached hereto as Exhibit 516 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009004.

         19.      Attached hereto as Exhibit 517 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009749.

         20.      Attached hereto as Exhibit 518 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0009847.




2.   All English translation exhibits identified herein also include the Danish language original documents.

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         21.   Attached hereto as Exhibit 519 is a true and correct copy of Bates-stamped

document MCGEE_000037.

         22.   Attached hereto as Exhibit 520 is a true and correct copy of a certified English

translation of Bates-stamped document STEIN_LHOTE0001236, which is stamped

STEIN_LHOTE0001236_T.

         23.   Attached hereto as Exhibit 521 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0001411.

         24.   Attached hereto as Exhibit 522 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0001467.

         25.   Attached hereto as Exhibit 523 is a true and correct copy of Matthew Stein’s

Objections and Responses to Skatteforvaltningen’s First Requests for Admission, dated July 23,

2024.

         26.   Attached hereto as Exhibit 524 is a true and correct copy of Jerome Lhote’s

Objections and Responses to Skatteforvaltningen’s First Requests for Admission, dated July 23,

2024.

         27.   Attached hereto as Exhibit 525 is a true and correct copy of Nominal

Defendant/Counterclaim Defendant Luke McGee’s Responses to Skatteforvaltningen’s First

Requests for Admission, dated July 23, 2024.

         28.   Attached hereto as Exhibit 526 is a true and correct copy of Bates-stamped

document SKAT_MAPLEPOINT_00000938.

         29.   Attached hereto as Exhibit 527 is a true and correct copy of Bates-stamped

document STEIN_LHOTE0008914.




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      30.   Attached hereto as Exhibit 528 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000174, which is stamped

SKAT_MAPLEPOINT_00000174_T_R.

      31.   Attached hereto as Exhibit 529 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000431, which is stamped

SKAT_MAPLEPOINT_00000431_T_R.

      32.   Attached hereto as Exhibit 530 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000235, which is stamped

SKAT_MAPLEPOINT_00000235_T_R.

      33.   Attached hereto as Exhibit 531 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000264, which is stamped

SKAT_MAPLEPOINT_00000264_T_R.

      34.   Attached hereto as Exhibit 532 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000027, which is stamped

SKAT_MAPLEPOINT_00000027_T_R.

      35.   Attached hereto as Exhibit 533 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000040, which is stamped

SKAT_MAPLEPOINT_00000040_T_R.

      36.   Attached hereto as Exhibit 534 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000019, which is stamped

SKAT_MAPLEPOINT_00000019_T_R.




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      37.    Attached hereto as Exhibit 535 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000072, which is stamped

SKAT_MAPLEPOINT_00000072_T_R.

      38.    Attached hereto as Exhibit 536 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000194, which is stamped

SKAT_MAPLEPOINT_00000194_T_R.

      39.    Attached hereto as Exhibit 537 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000420, which is stamped

SKAT_MAPLEPOINT_00000420_T_R.

      40.    Attached hereto as Exhibit 538 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000069, which is stamped

SKAT_MAPLEPOINT_00000069_T_R.

      41.    Attached hereto as Exhibit 539 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000001, which is stamped

SKAT_MAPLEPOINT_00000001_T_R.

      42.    Attached hereto as Exhibit 540 is a true and correct copy of a certified English

translation of Bates-stamped document STEIN_LHOTE0001468, which is stamped

STEIN_LHOTE0001468_T_R.

      43.    Attached hereto as Exhibit 541 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000440, which is stamped

SKAT_MAPLEPOINT_00000440_T_R.




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      44.    Attached hereto as Exhibit 542 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000942, which is stamped

SKAT_MAPLEPOINT_00000942_T_R.

      45.    Attached hereto as Exhibit 543 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000247, which is stamped

SKAT_MAPLEPOINT_00000247_T_R.

      46.    Attached hereto as Exhibit 544 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000012, which is stamped

SKAT_MAPLEPOINT_00000012_T_R.

      47.    Attached hereto as Exhibit 545 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000172, which is stamped

SKAT_MAPLEPOINT_00000172_T_R.

      48.    Attached hereto as Exhibit 546 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000925, which is stamped

SKAT_MAPLEPOINT_00000925_T_R.

      49.    Attached hereto as Exhibit 547 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000943, which is stamped

SKAT_MAPLEPOINT_00000943_T_R.

      50.    Attached hereto as Exhibit 548 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT MAPLEPOINT _00000776_ T, which is stamped

SKAT_MAPLEPOINT_00000776_T_R.




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      51.   Attached hereto as Exhibit 549 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000070, which is stamped

SKAT_MAPLEPOINT_00000070_T_R.

      52.   Attached hereto as Exhibit 550 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000743, which is stamped

SKAT_MAPLEPOINT_00000743_T_R.

      53.   Attached hereto as Exhibit 551 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000820, which is stamped

SKAT_MAPLEPOINT_00000820_T_R.

      54.   Attached hereto as Exhibit 552 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000075, which is stamped

SKAT_MAPLEPOINT_00000075_T_R.

      55.   Attached hereto as Exhibit 553 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000690, which is stamped

SKAT_MAPLEPOINT_00000690_T_R.

      56.   Attached hereto as Exhibit 554 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000929, which is stamped

SKAT_MAPLEPOINT_00000929_T_R.

      57.   Attached hereto as Exhibit 555 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000256, which is stamped

SKAT_MAPLEPOINT_00000256_T_R.




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      58.    Attached hereto as Exhibit 556 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000176, which is stamped

SKAT_MAPLEPOINT_00000176_T_R.

      59.    Attached hereto as Exhibit 557 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT _00000017, which is stamped

SKAT_MAPLEPOINT _00000017_T_R.

      60.    Attached hereto as Exhibit 558 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000904, which is stamped

SKAT_MAPLEPOINT_00000904_T_R.

      61.    Attached hereto as Exhibit 559 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000003, which is stamped

SKAT_MAPLEPOINT_00000003_T_R.

      62.    Attached hereto as Exhibit 560 is a true and correct copy of the curriculum vitae

of Marc E. Landy.

      63.    Attached hereto as Exhibit 561 is a true and correct copy of Bates-stamped

document MPSKAT00026699.

      64.    Attached hereto as Exhibit 562 is a true and correct copy of Bates-stamped

document MPSKAT00019815.

      65.    Attached hereto as Exhibit 563 is a true and correct copy of Bates-stamped

document MPSKAT00119705, which has been annotated to include highlighting.

      66.    Attached hereto as Exhibit 564 is a true and correct copy of Bates-stamped

document MPSKAT00101957.




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         67.     Attached hereto as Exhibit 565 is a true and correct copy of an excerpt of Bates-

stamped document JHVM_0005902.

         68.     Attached hereto as Exhibit 566 is a true and correct copy of a table created by

SKAT’s expert, Marc E. Landy.

         69.     Attached hereto as Exhibit 567 is a true and correct copy of an excerpt of the

Bates-stamped document MPSKAT00201104.

              Attached hereto as Exhibit 568 is a true and correct copy of Bates-stamped

document MPSKAT00163991.

         71.     Attached hereto as Exhibit 569 is a true and correct copy of a certified English

translation of Bates-stamped document SKAT_MAPLEPOINT_00000310, which is stamped

SKAT_MAPLEPOINT_00000310_T_R.

         72.     Attached hereto as Exhibit 601E1 is a true and correct copy of an excerpt of the

                                                                             True-Up Spreadsheet, produced

by Wachtell and the Covered Parties, which has been annotated to include highlighting.3




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         73.     Attached hereto as Exhibit 601E2 is a true and correct copy of an excerpt of the

              True-Up Spreadsheet, produced by Wachtell and the Covered Parties, which has been

annotated to include highlighting.




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         74.     Attached hereto as Exhibit 601E3 is a true and correct copy of an excerpt of the

              True-Up Spreadsheet, produced by Wachtell and the Covered Parties, which has been

annotated to include highlighting.




3.   All True-Up Spreadsheets will be available at trial in electronic format as Exhibits 601 through 680.

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       75.      Attached hereto as Exhibit 601E4 is a true and correct copy of an excerpt of the

             True-Up Spreadsheet, produced by Wachtell and the Covered Parties, which has been

annotated to include highlighting.

       76.      Attached hereto as Exhibit 621E1 is a true and correct copy of an excerpt of the

                                          True-Up Spreadsheet, produced by Wachtell and the

Covered Parties.

       77.      Attached hereto as Exhibit 656E1 is a true and correct copy of an excerpt of the

                             True-Up Spreadsheet, produced by Wachtell and the Covered

Parties, which has been annotated to include highlighting.

       78.      Attached hereto as Exhibit 646E1 is a true and correct copy of an excerpt of the

                                                      True-Up Spreadsheet, produced by

Wachtell and the Covered Parties, which has been annotated to include highlighting.

       79.      Attached hereto as Exhibit 602E1 is a true and correct copy of an excerpt of the

                                     True-Up Spreadsheet, produced by Wachtell and the Covered

Parties, which has been annotated to include highlighting.

       80.      In accordance with paragraph 3 of the Confession of Judgment, I affirm that the

Judgment Amount of the Confession of Judgment is DKK 1,044,675,980, comprised of (a) the

DKK 653,602,007 “Subsequent Cash Payment Amount, which is the sum of” the DKK 600

million Additional Cash Payment and the DKK 53,602,007 “True-Up Amount determined

pursuant to Section 2(e)(iii) of the Settlement Agreement, (b) less” DKK 60,424,596 in

“payments made through the Default Date to fund the Subsequent Cash Payment Amount

pursuant to the Settlement Agreement, (c) plus” DKK 97,750,314 in “Applicable Interest,

calculated pursuant to section 2(d)(ii) of the Settlement Agreement, as of the Default Date,



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(d) plus" DKK 353,748,256 in "Applicable Interest, calculated pursuant to Section 5(d)(iii) of

the Settlement Agreement." The following table sets forth SKAT's calculation of interest under

Sections 2(d)(ii) and 5(d)(iii) of the Settlement Agreement.

                    Principal          § 2.d.ii Interest       § 5.d.iii Default
                    Amount            Accrued Between              Interest
    Date
                   Outstanding         Payment Dates               Accrued
                      IDKK)                (DKK)                   fllKK J
May 28, 2021       595,076,380.97                          -                  -
 June 8, 2021      593,667,048.08            1,443,671.60                     -
June 16, 2021      593,462,028.08            1,047,456.38                     -
April 19, 2022     593,177,410.76           40,182,257.07                     -
May 28, 2023       593,177,410.76           52,852,919.87                     -
June 14, 2023      593,177,410.76            2,224,009.00      353,748,255.77
      TOTAL                                 97,750,313.93      353,748,255.77         1,044,675,980.46




       I, MARC A. WEINSTEIN, hereby declare under penalty of pe1jmy that the foregoing is

tme and co1Tect.

   Dated: New York, New York
          April 7, 2025
                                                  Isl Marc A. Weinstein
                                                  Marc A. Weinstein




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